       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 1 of 38




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN
                                  MADISON DIVISION


1789 FOUNDATION, INC. d/b/a
CITIZEN AG and JENNIFER McKINNEY,

         Plaintiff,                                         Case No.: 3:24-cv-00755
v.

ELECTRONIC REGISTRATION
INFORMATION CENTER, CENTER
FOR ELECTION INNOVATION AND
RESEARCH, DAVID J. BECKER,
in his individual and official capacities,
and the WISCONSIN DEPARTMENT OF
TRANSPORTATION,

         Defendants.


                                         COMPLAINT


       Plaintiffs 1789 FOUNDATION, INC. d/b/a Citizen AG (“Citizen AG”) and JENNIFER

McKINNEY (“Ms. McKinney”) (collectively, “Plaintiffs”), by and through undersigned counsel

and pursuant to 18 U.S.C. § 2721 et seq., file this Complaint for declaratory and injunctive relief

and monetary damages against Defendants the Electronic Registration Information Center

(“ERIC”), the Center for Election Innovation and Research (“CEIR”), David J. Becker (“Becker”),

in his individual and official capacities (“Becker”) and the Wisconsin Department of

Transportation (“WisDOT”), on the grounds and in the amounts set forth as follows:

                                       INTRODUCTION

       This is a privacy and voting rights action brought to redress a scheme Becker orchestrated

and carried out through his two ostensibly “nonpartisan” organizations, the ERIC and the CEIR.

In particular, Becker exploited the tax-exempt status ERIC obtained to infiltrate WisDOT’s
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 2 of 38




Division of Motor Vehicles (“DMV”) database to access the driving records containing the

personal information of millions of Wisconsin residents and eligible American voters, including

Citizen AG members such as Ms. McKinney to use for unlawful purposes in violation of the

Driver’s Privacy and Protection Act (“DPPA”).

        Following the United States Supreme Court’s 2010 landmark decision in Citizens United1,

Becker developed a plan to add “millions of new voters onto the rolls through a modernized

registration system.”2 To accomplish this, Becker began by forming ERIC, a 501(c)(3) tax-exempt

organization that purportedly exists to “improve voter roll accuracy.”3

        The way the scheme works begins when a state joins ERIC and signs its membership

agreement. Under the ERIC membership agreement, ERIC promises its member-states that, in

exchange for a $25,000 payment, hundreds of thousands in annual dues, and unfettered access to

its DMV databases, ERIC will contact ninety-five percent (95%) of the names it puts on the state’s

“eligible but unregistered” lists––which include non-citizens––and increase accuracy in the

member state’s voter rolls. Notwithstanding the fact that over a decades’ worth of data reveals that

ERIC actually makes voter rolls less accurate, these ERIC membership agreements are nothing

more than trojan horse contracts that Becker relies upon to infiltrate the statewide DMV databases

of more than half the country, or 271 total votes of the Electoral College.

        Once the ERIC agreement is signed, it imposes contractual obligations upon its member-

states to provide it with the sensitive, otherwise inaccessible personal information contained in the

driving records of its member-states’ residents every sixty (60) days. This is not a permitted use of

data or personal information obtained from driving records under the Driver’s Privacy and



1
  Citizens United v. FEC, 558, U.S. 310 (2010).
2
  Ludwig, Hayden, How the Left Fooled States Into Boosting Democratic Turnout—and How to Stop It,
RESTORATION NEWS (Mar. 15, 2023), available at: https://citizenag.link/byn.
3
  https://ericstates.org (last visited October 27, 2024)

                                                     2
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 3 of 38




Protection Act (“DPPA”). In fact, DPPA provides for fourteen (14) exceptions to the use of this

highly-sensitive information and not one of these even tangentially pertains to voting or elections.

       Regrettably, it gets even worse. Plaintiffs bring this action against Becker’s other not-for-

profit organization, the CEIR, because Becker, ERIC, and CEIR have knowingly used, obtained,

and/or disclosed personal information that was sourced from motor vehicle records (i.e., the

WisDOT DMV records) for a purpose other than the 14 enumerated permissible uses under the

DPPA, and each defendant will continue to use, obtain, and/or disclose this personal information

for impermissible purposes absent the relief requested here.

       In short, Becker, by and through ERIC, uses a trojan-horse-contract-veiled-as-a-

membership-agreement to obtain personal information from the driving records stored in our

nation’s statewide DMV databases. Once ERIC obtains this personal information, Becker then

“switches hats” and steps into the shoes of CEIR’s Executive Director, where he weaponizes the

personal information unlawfully disclosed to him/ERIC by WisDOT. With this information in

hand, Becker and his two not-for-profits engage in campaign and political activities, including,

without limitation, partisan voter outreach, text messaging, and registration solicitation.

       Under the veil of CEIR, Becker also uses the personal information he obtains from driving

records as bait to attract the likes of wealthy, partisan, and politically motivated donors, such as

Mark Zuckerberg. A recipient of the infamous “Zuckerbucks” in 2020, CEIR used the funds it

garnered to issue “grants” to various Secretaries of State for the purpose of “urgent voter education

assistance.” As just one example, Becker exploited CEIR to facilitate a $11.9 million payment to

Michigan’s Secretary of State, Jocelyn Benson, which she, in turn, used to pay powerhouse

political consulting firms for “media and strategy purchase.” Ultimately, these funds were used to

pay for targeted television and radio ads and text message campaigns in critical swing states. While




                                                 3
           Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 4 of 38




Becker does this and uses personal information obtained from driving records in all 244 of its

member-states, what makes it particularly egregious in Wisconsin is that Wisconsin is not an

ERIC member and has not been an ERIC member since terminating its membership agreement

on June 30, 2016.

           While, of course, it is immaterial whether a contractual agreement exists between a state

and a private third-party like ERIC if the subject matter of the contract is unlawful, assuming

arguendo that the use or disclosure of personal information obtained from driving records became

lawful upon execution of a valid contract, that is not the fact pattern, here. Specifically, upon

learning that its members were growing concerned about the state of Wisconsin’s voter rolls,

including whether state and local officials were complying with federal and state list maintenance

requirements, Citizen AG began investigating the issue. Among other things, Citizen AG submitted

a request to the Wisconsin Election Commission (“WEC”) and asked for a current copy of

Wisconsin’s membership agreement with ERIC. The next day, WEC responded to the request by

providing a single document: a copy of an ERIC membership agreement executed and entered into

by and between ERIC and the Wisconsin Government Accountability Board (“GAB”). No other

document was provided.

           Notably, just forty-four (44) days later, on June 30, 2016, GAB was eliminated, thereby

terminating the contractual relationship between ERIC and the State of Wisconsin. No subsequent

agreement was entered into, and no amendment to the underlying agreement was made prior to

GAB’s elimination. Therefore, Wisconsin and ERIC have not been in a contractual relationship for

over eight (8) years. Despite this, Defendants have disclosed, used, and obtained personal

information from driving records of Wisconsin residents and voters. Given this protracted pattern




4
    ERIC’s members consist of 23 states and the District of Columbia.

                                                          4
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 5 of 38




and practice of unlawful, criminal activity, it can be expected that Defendants will continue to do

so – for the next 8 years or even longer – absent the relief requested herein.

        In sum, Defendants ERIC and CEIR, vis a vis and lead by their respective founder,

Defendant David Becker, along with the WisDOT have knowingly engaged in and will continue

to knowingly and intentionally engage in a coordinated effort to obtain, use, and disclose sensitive,

protected personal information of Wisconsin residence from driving records obtained through the

Wisconsin DMV in violation of federal law, and with the intent to compromise and undermine the

fundamental right to vote of millions of Wisconsin voters. This Complaint seeks not only to hold

ERIC, CEIR, Becker, and WisDOT accountable, but to restore the integrity and public confidence

in our nation’s nonpartisan electoral process.

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this

action arises under the laws of the United States, and in particular, 52 U.S.C. §§ 20507 and

20510(b).

        2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because at least one

defendant resides in this district and because a substantial part of the events and omissions giving

rise to the claims herein occurred in this district.

        3.      The allegations raised herein pertain to one or more violations of the National Voter

Registration Act (“NVRA”) that occurred within thirty (30) days of a federal election and

therefore, any notice-related conditions precedent to maintaining this action are waived entirely

pursuant to 52 U.S.C. § 20510(b)(3).

                                              PARTIES

        4.      Plaintiff 1789 Foundation, Inc. d/b/a Citizen AG (“Citizen AG”) is a nonprofit

organization organized under the laws of the State of Florida dedicated to educating Americans

                                                   5
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 6 of 38




about their rights and to advocating, protecting, and preserving American civil liberties and

constitutional rights through an array of means that include, without limitation, public records

requests and litigation.

        5.      Citizen AG is supported in its mission by thousands of individuals across the nation.

An individual becomes a member of Citizen AG by making a financial contribution, in any amount.

Members’ financial contributions are by far the single most important source of income to Citizen

AG and provide the means by which the organization finances its activities in support of its

mission. Citizen AG in turn advocates for and defends the interests of its members when issues of

widespread impact related to the constitutional rights of the members and Americans at-large are

violated or infringed upon.

        6.      Over the past several years, Citizen AG’s members have become increasingly

concerned about the state of the nation’s voter registration rolls, including whether state and local

officials are complying with the DPPA and how their personal information is being used. They are

concerned that the forthcoming violations of the DPPA and the use and disclosures of personal

information from driving records impairs the integrity of elections by increasing the opportunity

for ineligible voters or voters intent on fraud to cast ballots.

        7.      Defendants’ violations of the DPPA voter list maintenance obligations burden the

federal and state constitutional rights to vote of all individual members of Citizen AG who are

lawfully registered to vote in Wisconsin by undermining their confidence in the integrity of the

electoral process, discouraging their participation in the democratic process, instilling in them the

fear that their legitimate votes will be nullified or diluted, and actually diluting their votes.

        8.      Protecting the voting rights of Citizen AG members who are lawfully registered to

vote in Wisconsin is well within the scope of the reasons why members of Citizen AG join the

organization and support its mission, and is germane to Citizen AG’s mission.

                                                   6
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 7 of 38




       9.      Because the relief sought herein will inure to the benefit of Citizen AG members

who are lawfully registered to vote in Wisconsin, neither the claims asserted, nor the relief

requested, requires the participation of Citizen AG’s individual members.

       10.     In response to the concerns of its members, Citizen AG commenced a nationwide

program to monitor state and local election officials’ compliance with the DPPA. As part of this

program, Citizen AG utilized public records laws to request and receive records and data from

jurisdictions across the nation about their voter list maintenance efforts. It then analyzed these

records and informed the general public about their rights and the findings that have been

uncovered.

       11.     Citizen AG’s concerns with Defendants’ violations of the DPPA led it to send the

August 2024 correspondence described herein seeking Wisconsin’s ERIC membership agreement

and list maintenance practices, and the resultant findings culminated in this action.

       12.     Citizen AG has devoted substantial resources, including staff time, to investigating

the Defendants' alleged violations of the DPPA, assessing their impact on Wisconsin’s voter

registration lists, and communicating with its members who have concerns about the integrity of

their State’s voter rolls. In addition, Citizen AG has invested significant efforts into researching

and addressing the broader implications of privacy and voting rights infringements caused by the

misuse and unlawful disclosures of personal information contained in the State’s DMV driving

records database. These efforts, aimed at addressing the bloating of voter rolls in both member

states and non-member states like Wisconsin, exceed Citizen AG’s regular, programmatic activities

related to monitoring DPPA compliance by state and local election officials.

       13.     Plaintiff Jennifer McKinney (“Ms. McKinney”) is a registered Wisconsin voter and

a taxpayer residing in Lacrosse County, Wisconsin. Ms. McKinney has had her personal




                                                 7
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 8 of 38




information from driving records unlawfully obtained, used, and disclosed by WISDOT, Becker,

ERIC, and the CEIR for partisan political activity.

       14.     Citizen AG and Jennifer McKinney (collectively, “Plaintiffs”) seek declaratory and

injunctive relief pursuant to 52 U.S.C. § 20510(b)(1), which authorizes a private citizen to bring

this suit to enforce the NVRA, and pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201

and 2202.

       15.     Each plaintiff is and has been harmed and aggrieved by the conduct of the

Defendants as described further herein.

       16.     Ms. McKinney has standing under Wis. Stat. § 5.06, insofar as Ms. McKinney is a

taxpayer and Defendants are spending taxpayer money on illegal activities or funding activities

that are expressly prohibited under federal law.

       17.     Citizen AG has standing as an aggrieved party under Wis. Stat. § 227.40 because

the Defendants’ alleged DPPA violations have directly and proximately forced it to divert resources

from its regular, programmatic activities. These diverted resources were necessary to prevent

further violations of federal law and protect constitutional rights, including those of its members

and Wisconsin’s eligible voters. This diversion of resources would not have been necessary if not

for Defendants’ noncompliance, requiring Citizen AG to take action to safeguard its members’

rights and the rights of all eligible voters in Wisconsin.

       18.     Defendant Electronic Registration Information Center (“ERIC”) is a 501(c)(3)

organization founded by Defendant David Becker that maintains its principal place of business in

the District of Columbia, located at 1201 Connecticut Ave NW, Suite 600, Washington, D.C.

20036. According to its most recent Form 990 filing from the 2021 fiscal year, ERIC’s mission

and stated exempt purpose is “a membership organization consisting of state election officials

working together to improve the accuracy of state voter registration lists.”

                                                   8
           Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 9 of 38




           19.      Defendant Center for Election Innovation and Research (“CEIR”) is a 501(c)(3)

organization founded by Defendant David Becker, with its principal office located at 1802 Vernon

Street NW, PMB 2393, Washington, D.C. 20009. According to its most recent Form 990 filing for

the 2021 fiscal year, CEIR’s stated mission and tax-exempt purpose is to support state election

officials in enhancing the accuracy of voter registration lists.

           20.      Defendant David J. Becker is the founder of ERIC and CEIR, as well as CEIR’s

current Executive Director. He is being sued in both his official and individual capacities. At all

times relevant, Becker operated as an official and agent of both ERIC and CEIR and his actions

impute liability to both organizations under the theory of respondeat superior.

           21.      Respondent Wisconsin Department of Transportation (“DOT”) is a department of

Wisconsin state government. Sec. 15.46. The Division of Motor Vehicles (“DMV”) is a division

of DOT, and acts and matters alleged in relation to DMV are those of and attributable to DOT.

E.g., § 343.165(8)(b)2.

                                           STATEMENT OF FACTS

I. David Becker, the Founder of ERIC

           22.      Prior to founding ERIC and the CEIR, Becker previously worked as an attorney in

the Voting Rights Section of the Civil Rights Division of the U.S. Department of Justice (“DOJ”).

           23.      Becker’s tenure with the DOJ abruptly ended in 2005 after an ethics investigation

revealed that he contacted the City of Boston and offered his services to defeat a lawsuit brought

by the DOJ––his own employer––seeking to enforce federal voting rights laws against the City.

           24.      Brad Schlozman, the acting-head of the DOJ’s Civil Rights Division at the time,

described the Becker’s misconduct as “the most unethical thing [Scholzman] had ever seen.”5



5
    W.J. Kennedy, Mark Zuckerberg beneficiaries promoting fair elections not exactly non-partisan as advertised, LEGAL
NEWSLINE (Sept. 30, 2020), available at: https://citizenag.link/c0a8d7.

                                                           9
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 10 of 38




Scholzman also made clear Becker’s overt partisan leanings, describing him as a “hard-core leftist”

who “couldn’t stand conservatives.”6

        25.      Hans von Spakovsky, who served as counsel the Assistant Attorney General for the

DOJ’s Civil Rights Division at the time, echoed Schlozman’s account of Becker’s bias, stating:

                 In his role with the DOJ, [Becker] was supposed to be non-partisan, but his
                 emails uncovered in the Boston investigation revealed nasty, disparaging
                 remarks about Republicans. Very unethical and unprofessional. I would
                 never hire or trust [David Becker].7

        26.      After the 2005 ethics probe culminated in the conclusion of Becker’s employment

with the DOJ, Becker began working for People for the American Way (“PFAW”), an organization

that prides itself on its “deep expertise in fighting the Right” and vows to be “committed to

redoubling [its] efforts to invest in the next generation of progressive champions.”8

        27.      Becker worked as a lobbyist for PFAW from 2005 to 2008, when he left to become

the Director of Election Initiatives at Pew Charitable Trusts (“Pew”).

        28.      Two years later, the U.S Supreme Court’s landmark decision in Citizens United v.

Federal Election Commission,9 prompted widespread panic amongst Democrats.

        29.      One such panicked response came from the Brennan Center, which published a

report in April 2010, stating, in pertinent part:

              [O]ur political system is broken…Congress is dysfunctional. Special interests
              have generated gridlock and blocked change. This past year showed that unless
              we repair our democracy, the progressive agenda will stall.10

        30.      The Brennan Center’s report also proposed a need to register “millions of new

voters onto the rolls through a modernized registration system.”11


6
  Id.
7
  Id. (emphasis added)
8
  People for the American Way, Our Mission, available at: https://citizenag.link/04j (last visited October 27, 2024)
9
  See fn. 1.
10
    Ludwig, Hayden, How the Left Fooled States Into Boosting Democratic Turnout—and How to Stop It,
RESTORATION NEWS (Mar. 15, 2023), available at: https://citizenag.link/byn.
11
   Id.

                                                        10
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 11 of 38




         31.      Becker concurred with the Brennan Center’s report and concluded that, in his mind,

the biggest shortcoming in the American electoral process was voter registration. He also believed,

however, that Congress was too politically divided to promote voter registration.

         32.      Because of this, Becker sought an alternative avenue through which he could

bypass Congress and grab hold of the voter rolls across America.

         33.      Becker concluded he could use the nonprofit sector to create an entirely new

organization to facilitate mass voter registrations and, because of its novelty, avoid the naturally-

placed mistrust in already-existing third-parties, such as Pew, as the entity to carry out his agenda.

         34.      By the end of 2010, Becker’s plan to form ERIC had been all but finalized. The

problem he now faced was obtaining the financial support to bring his plan to life.

II. ERIC’s Seed Funding and Ties to Partisan Mega-Donors & Organizations

         35.      While Becker knew he could not launch his mass voter registration initiative under

Pew due to the mistrust and opposition he would face, that did not mean he could not engage Pew

as a pass-through entity that facilitated Becker’s access to funds so he could ERIC. And that is

precisely how Becker got ERIC off the ground.

         36.      In 2008, Becker became an employee of Pew, knowing he had access to exorbitant

financial resources that could issue grants to Pew that, once received, Becker could use those to

create ERIC. Becker only needed to figure out who would be willing to issue Pew the grant money

ERIC needed.

         37.      In 2011, the Foundation to Promote Open Society (“Open Society”) rose to the

occasion, issuing Pew two grants for a combined total of $725,000.12




12
   Internal Revenue Service Form 990-PF, Foundation to Promote Open Society, Part XV, attach. 16 at p. 143, available
at: https://citizenag.link/3tn.

                                                         11
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 12 of 38




        38.      It is important to note that, when it comes to American politics, Open Society, which

was founded in 1979 by far-Left mega donor, George Soros, exclusively contributes to partisan

objectives, initiatives, organizations, and politicians. The magnitude of Open Society’s

partisanship is highlighted by simply looking at its financial contributions since 2000.

        39.      Over the last twenty-four (24) years, Open Society has contributed more than $21

billion to Democrats and liberal-backed, or far-left, organizations, initiatives, or campaigns.

        40.      Over that exact same time, Open Society has donated $0.00 to Republicans or

conservative organizations, initiatives, or campaigns

        41.      According to its 2011 Form 990 filings, Open Society issued the first grant to

“support the Pew Center on the States’ voter registration modernization initiative,”13 while the

second grant was issued for purpose of providing “renewed project support to the Pew Charitable

Trusts’ Elections Initiatives to modernize voter registration systems; and to provide new project

support to elections initiatives to expand the scope and scale of the Voter Information Project.”14

        42.      That following year, in 2012, Becker formally launched ERIC with its inaugural

class of seven (7) member-states.

III. ERIC’s Membership Agreement & the Alleged Services it Performs

        43.      By creating ERIC under the veil of Pew, Becker was able to not only bypass

Congress and create a national voter list of his own, but evade the opposition and mistrust that he

knew would naturally arise if the public had knowledge of ERIC’s origins and financial backing.

        44.      Without this scrutiny, Becker was in a much better position to coax states into

signing on as ERIC members, and Becker succeeded in bringing on seven (7) member-states at the

time ERIC was formally launched in 2012.


13
   W.J. Kennedy, Mark Zuckerberg Beneficiaries Promoting Fair Elections Not Exactly as Non-Partisan as Advertised,
LEGAL NEWSLINE (Sept. 4, 2020), available at: https://citizenag.link/c0a8d7.
14
   Id.

                                                       12
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 13 of 38




       45.     At its core, ERIC exists for two reasons: serve as a vehicle to (1) bloat America’s

voter rolls, and (2) grant Becker access to sensitive, personal data and information that he could

not have otherwise obtained but-for entering into a contractual agreement with member-states that

compelled them to hand it over to Becker.

       46.     Becker’s business model is quite simple: Becker promises member-states that ERIC

will “reduce the costs and increase the accuracies and efficiencies associated with [its member-

states’] use of voter registration systems” (the “Services”) in exchange for the member-states’

promise to (1) a one-time payment of $25,000 as an initiation fee; (2) pay ERIC tens of thousands

in annual “dues”; and (3) grant ERIC access to hyper-sensitive, state-controlled databases that

include personal information and details about each and every one of the state’s residents.

       47.     At its peak, Becker convinced thirty-two (32) states and the District of Columbia –

almost 3/4 of the nation – to join ERIC under these terms.

       48.     With its 33 member states, Becker received millions of dollars’ worth of revenue

comprised exclusively of state funds––including funds paid by the federal government––but also

control over 354 of 538 electoral votes, which translates to Becker having had control over the

voter registration lists that dictate 65.8% of all votes cast in the United States of America.

       49.     In addition to the ERIC membership agreements’ terms that contractually entitle

ERIC to tens of thousands of dollars in annual payments from its member-states (all of whom are

recipients of federal funding) and unfettered access to data otherwise unavailable to any other non-

public person or entity, these also granted ERIC a hyper-valuable bargaining chip to attract

significant financial investment by those who wish to influence elections.




                                                13
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 14 of 38




         50.      It is also an incredible amount of money for an organization that has no staff or

physical office, let alone data servers to store the massive amount of information it obtains from

its member-states.15

         51.      Among those individuals, is Mark Zuckerberg, the Founder and CEO of Meta

Platforms, Inc. (formerly, “Facebook”), the significance of which is explained below.

         52.      In short, Becker had means, the desire, and the data to change the course of

elections, but no lawful way to make his agenda become a reality. This is especially true in light

of the fact that ERIC’s member agreements bound ERIC to only use its member-states’ data to

“reduce the costs and increase the accuracies and efficiencies associated with [its member-states’]

use of voter registration systems.” Notably, even contractual obligations are illusory, as it is well-

established consideration under a contract cannot be predicated upon unlawful activities. Even

more, ERIC is a 501(c)(3) organization; thus, at all times relevant it was and is prohibited from

engaging in partisan political activity, engaging in substantial lobbying, and profiting off its work.

         53.      As a result, and to circumvent these contractual provisions and federal regulations,

Becker created another layer to the shell game of liability: CEIR.

IV. Becker Launches the Center for Election Innovation & Research (“CEIR”)

         54.      Becker knew that using ERIC’s member-states’ sensitive, private, and hyper-

protected personal data for purposes outside the purview of the contractually agreed upon services

and permissible limits of federal data privacy laws would not only constitute a breach of contract,

but criminal sanctions.


15
   On February 15, 2023, Alabama Secretary of State Wes Allen made an unannounced visit to the published address
of ERIC’s headquarters at 1201 Connecticut Ave NW Ste 600 in Washington, D.C. Upon finding that the location was
actually the home of a virtual shared workspace and that no ERIC headquarters existed at the location, Allen stated,
“I was in DC for a meeting of the National Association of Secretaries of States and, since I was in town, I went to see
the ERIC Headquarters . . . I found [] there was no ERIC headquarters at that address. There were no employees.
There were no servers. There was no ERIC presence of any kind.” (Ludwig, Hayden, How the Left Fooled States
Into Boosting Democratic Turnout—and How to Stop It, RESTORATION NEWS (Mar. 15, 2023), available at:
https://citizenag.link/byn. (emphasis added).

                                                         14
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 15 of 38




       55.     Thus, in order to make it appear as though ERIC was fully-compliant with these

legal parameters, he created a second nonprofit organization through which he could use the data

to influence American elections.

       56.     Since Becker is founder of both ERIC and CEIR, as well as CEIR’s Executive

Director, Becker exploited this loophole and, technically, did not disclose this data to a third-party.

Rather, he simply “switched hats” between acting under ERIC and acting under CEIR, depending

on what specific activity he was engaging in at the time.

       57.     It is worth noting that while Becker claims he “stepped away” from ERIC once

CEIR was formed, his own emails and other evidence demonstrate otherwise.

       58.     In fact, the only support for Becker’s assertion that he “stepped away” from ERIC

is a typographical update on ERIC’s website that lists Becker as a “Non-Voting Board Member”

of ERIC’s Board:




V. Becker’s Control Over ERIC while serving as CEIR’s Executive Director.

       59.     While this gesture offers little-to-no evidentiary weight as to whether Becker did

and does or does not retain control over ERIC while working at CEIR, it is immaterial to answering

the question of whether Becker exercised control or authority over ERIC as an organization. Stated

differently, Becker could be a non-voting board member of ERIC while still dictating and

controlling the manner in which ERIC operates and what activities it engages in.

                                                  15
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 16 of 38




       60.       To that end, as a non-voting member of ERIC’s board, Becker still maintained and

exhibited control over ERIC’s activities and objectives.

       61.       For example, in April 2020, ERIC hosted a meeting with representatives from its

member-states’ respective Department of State offices. During this 57-minute meeting, Becker

spoke on behalf of ERIC––not CEIR––and, at one point, even went so far as to say that he

“personally is going to be very active in continuing to try to bring California on board” as an ERIC

member state.

       62.       At another point during the call, a member-state representative asked how

undelivered mail should be reported to ERIC. Becker – and not “then-Executive Director,” Shane

Hamlin, who was on the call – answered.

       63.       In fact, despite Mr. Hamlin being on the near-hour long call, he never once uttered

a single word.

       64.       Further evidence that Becker remained part of ERIC and managed its day-to-day

operations even while serving as official Executive Director of CEIR is made clear on May 15,

2020, email shown below:




                                                 16
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 17 of 38




       65.     This type of email and planning is atypical of someone who is not involved with an

organization, let alone someone who has anything less than a significant managerial role.

       66.     While at least Becker notes Hamlin does have some involvement, its questionable

as to the extent of involvement Hamlin has in running the organization.

VI. CEIR’s Unlawful Partisan Political Activities

       67.     In September 2020, CEIR received $70 million from the Priscila Chan and Mark

Zuckerberg Foundation (“Zuckerbucks”). Just days later, CEIR launched its “Voter Education

Grant Program.”

                   i. It is a statistical impossibility that CEIR allocated its funds
                      in a non-partisan manner.

       68.     CEIR’s Voter Education Grant Program was anything but educational: it was a

partisan mission to inject capital into swing states and states within then-Democratic candidate

Joseph Biden’s reach.

       69.     Specifically, in total, CEIR reported distributing $64 million in grants to fund this

alleged “urgent voter education assistance” in twenty-three (23) different states as reflected below:

       70.




       71.     These amounts were not random. Mathematical and statistical analyses reveal that

the allocation of grant money was influenced by Becker partisanship and left-leaning objectives.




                                                 17
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 18 of 38




       72.      Specifically, a chi-square test was conducted to determine whether there is a

statistically significant association between the amount of grant funding CEIR distributed to swing

states and the partisanship of those states.

       73.     The first part of this process involves separating the states that CEIR funded into

the following categories: (1) Swing states: Highly competitive election outcome; (2) Biden-won

states: States that leaned consistently towards Biden; and (3) Trump-won states: States that

leaned consistently towards Trump.

       74.     The observed distribution of net grant amounts revealed the following totals across

these three categories:




       75.     These observed amounts show a substantial concentration of funds in swing states,

which received nearly 1.8 times more funding than Biden states and more than 4.6 times more

funding than Trump states.

       76.     If the distribution of grant funds were neutral and non-partisan the total funds

($66,722,737) to be evenly distributed ($22,240,910) across the aforesaid three categories.

       77.     These expected values represent the baseline of what would be expected if funding

was distributed without bias or favoritism toward a particular category of states.

       78.     However, the chi-square analysis revealed a chi-square statistic of 10,458,755.98

and a p-value of 0.00000, which indicating an extremely high level of statistical significance that

the funding allocations were not accidental.

       79.     In statistical terms, a p-value of 0.0 means that the probability of observing such a

disparity in grant distributions by random chance alone is virtually zero.




                                                18
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 19 of 38




        80.      The statistically improbable, extreme concentration of funds toward swing states—

particularly those that were pivotal in the 2020 election—means a deliberate strategy to allocate

more resources to where the election outcome was uncertain is almost 100% certain.

        81.      The significant funding disparity shows that grant allocation was not merely a

function of general election administration support but rather an effort to target and influence the

voter base in states critical to the election's outcome.

        82.      The chi-square analysis demonstrates a statistically significant bias in grant

distribution favoring swing states in the 2020 election.

                    ii. CEIR used funds to target voters to vote Democrat.

        83.      CEIR’s partisan activity became even more apparent when a discrepancy between

the use of funds allocated to the states revealed the true nature of how Becker expended millions

in just one state alone.

        84.      In Michigan, for example, Becker gave Secretary of State Jocelyn Benson roughly

$11.9 million for what Becker and CEIR reported as “urgent voter educational assistance.”

        85.      No educational component was attached to, or resulted from, these funds. Rather,

Secretary Benson handed the money off to Michigan’s Center for Election Law and Administration

(“MCELA”), and the MCELA spent $11.7 million on Democratic consulting firms for “media

strategy and purchase.”16 MCELA’s 2020 public disclosures reveal $11.7 million (of the total

$11,939,365.00) received were paid to two (2) Democratic consulting firms for “media strategy

and purchase.”

        86.      The consulting fees reportedly paid for television and radio ads encouraging

citizens to vote as well as targeted text messages sent directly to voters who had not voted yet.


16
  MCELA’s 2020 public disclosures reveal that $11.7 million of the total $11,939,365.00 from CEIR was spent on
Waterfront Strategies ($9.7 million) and on the consulting firm of former Democratic National Committee (DNC)
political director Jill Alper, Alper Strategies ($2 million).

                                                      19
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 20 of 38




        87.      These targeted text messages were sent to registered Democrats and the contact

information was provided by Waterfront Strategies and Alper Strategies, further showing the

partisan nature of the “educational” grant funds.

        88.      Another example of CEIR’s partisan activity is evidenced in Wisconsin, a state to

which CEIR and the Center for Technology and Civic Life (“CTCL”) acted in concert as a de facto

joint venture to engage in illegal activity.

        89.      In March 2022, Wisconsin Special Counsel, Michael Gableman17, published the

Second Interim Investigative Report on the Apparatus & Procedures of the Wisconsin Elections

System and stated in pertinent part:

              CTCL and CEIR are Zuckerberg-Chan financed entities that worked together
              as a joint venture in the 2020 election . CTCL funded the $8.8 million Wisconsin
              Safe Voting Plan (WSVP), which the cities of Milwaukee, Madison, Green Bay,
              Racine and Kenosha used to purchase illegal drop boxes and the provision of
              those funds constitutes election bribery under Wis. Stat. § 12.11.18

        90.      CEIR’s role in this joint venture to commit election bribery in violation of

Wisconsin law was spearheaded by, of course, none other than Defendant Becker, who developed

the Election Officials Legal Defense Network (“EOLDN”), a coordinated effort to legally defend

state officials who committed election-related crimes not only in Wisconsin, but nationwide.19

        91.      Boiled down to its essence, the millions Zuckerberg paid CEIR that, in turn, CEIR

disguised as “grants” to swing states effectively turned otherwise objective state governmental

offices into satellite hubs for the Biden campaign.

//

//



17
   Michael Gableman is also a former Justice of the Wisconsin Supreme Court.
18 18
     See generally, Office of the Special Counsel. Second Interim Investigative Report on the Apparatus & Procedures
of the Wisconsin Elections System, available at: https://citizenag.link/7e4fc8 (“Gableman Report”) (emphasis added).
19
   Id.

                                                        20
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 21 of 38




VII. Contrast between ERIC’s Activity and its Mission Statement

        92.      As stated above, ERIC’s stated mission is to “assist states in improving the accuracy

of America’s voter rolls and increasing access to voter registration for all eligible citizens,” thereby

defining its scope of work.20 These two objectives are also the basis upon which the IRS granted

ERIC its tax-exempt status.

        93.      Not only does ERIC operate far beyond these two stated, specific objectives, but it

fails to achieve either.

              i. ERIC Does not improve accuracy of America’s voter rolls

        94.       No evidence exists that shows ERIC improves voter roll accuracy. In fact, over a

decade’s worth of evidence demonstrates precisely the opposite.

        95.      Despite claiming ERIC’s mission in part is to “assist states in improving the

accuracy of [their] voter rolls”, ERIC’s success rate in removing ineligible voters from voter

rolls an abysmal 1.9%.21




20
   The U.S. Election Assistance Commission published data from the 2020 Election Administration and Voting Survey
(“EAVS”) (emphasis added).
21
   The phrase “[m]maintaining accurate voter rolls means nothing more than ensuring a given voter roll does not
contain the names of ineligible voters, regardless of the reason underlying the basis of ineligibility.

                                                       21
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 22 of 38




       96.      Of course, a 1.9% success rate draws skepticism upon both the calculations and

data relied upon in arriving at such a low figure, as well as concerns regarding why an organization

is so spectacularly incapable of accomplishing its objectives; however, there is a simple

explanation: ERIC does not want to improve voter roll accuracy. It just wants access to its

member states’ data, and “improving voter roll accuracy” is the pretextual justification it relies

upon to obtain it.

       97.       Perhaps the greatest indicator that ERIC does not want to improve voter roll

accuracy is the fact that its membership agreement expressly prohibits states from providing it

with any information concerning the citizenship of its residents. More specifically, ERIC’s

membership agreement states:

             Under no circumstances shall the Member transmit an individual’s record where
             the record contains documentation or other information indicating that the
             individual is a non-citizen of the United States.

       98.      In America, an “eligible voter” need be three things: (1) over the age of 18; (2) a

citizen of the United States; and (3) not a convicted felon or mentally incompetent. Yet of these

three qualifications––one of which (age) cannot be controlled––ERIC has gone so far as to

prohibit its member states from informing it whether the individuals residing within its state

borders are or are not American citizens.

       99.      At first glance, it appears ERIC is prohibiting states from sending ERIC any

information about non-citizens who live in its member states. If this were true, that would give rise

to an inference that ERIC is trying to avoid receiving information about non-citizens who, in turn,

could possibly end up on a given member state’s voter roll.

       100.     But that is not the case. In closely reading the aforesaid provision, it is clear that

ERIC does not prohibit member states from sending it information about illegal aliens; it just




                                                 22
          Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 23 of 38




requires the states to remove the evidence demonstrating that the names of all illegal aliens living

in the member state is extracted prior to transmitting the data.

           101.     In other words, ERIC simply does not want to get caught with evidence in its

possession that proves ERIC knew or should have known that it was adding illegal aliens to our

nation’s voter rolls in direct violation of the Article I citizenship requirement.22

           102.     ERIC does not want citizenship-related information because it is a crime to vote as

an illegal alien, and ERIC facilitates the commission of these crimes.

           103.     You may be asking, “Why does ERIC want data concerning illegal aliens

anyways?” If so, you are not alone.

                     ii. ERIC does not increase “access” to voting registration
                         nor does it do so exclusively for “eligible citizens”

           104.     Increasing “access to voter registration” necessarily excludes those who are already

registered to vote, or those who are being registered to vote automatically, unless an individual

affirmatively “opts out” from being registered, as is the case in Michigan.

           105.     ERIC can hardly say it seeks to increase access to voting registration “for eligible

citizens,” which is the language used in its mission statement and its application for tax-exempt

status.

           106.     Likewise, ERIC also Does not fight to “increase “access” to voting registration.

           107.     ERIC and CEIR’s virtually indistinguishable efforts go so far as to pressure state

legislatures to pass legislation that changes how citizens register to vote.

           108.     ERIC has also engaged in intentional and knowing violations of the Driver’s

Privacy Protection Act.




22
     See U.S. const. Art. I; see also amends. XV, IX, XXIV, and XXVI.

                                                         23
          Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 24 of 38




           109.    For example, in Michigan, in order to become a registered voter, eligible but not

registered” voters (“EBUs”) needed to affirmatively register themselves. This was usually done at

the DMV when someone moves into the state or needs to obtain a state-issued identification card.

           110.    Under the policy ERIC sought to have implemented in Michigan, those who did

nothing would automatically be registered, and only those who took affirmative action and

declined to register would be omitted from state voter rolls, even if you had already affirmatively

declined to register at the DMV.

           111.    Becker was successful in his endeavor to implement this policy, as the Michigan

legislature passed a law in December 2018 that brought this perversion of voter registration laws

to life.23

           112.    Nine months later, in September 2019, Michigan’s Secretary of State, Benson,

unilaterally expanded automatic voter registration (“AVR”) also “include mail-based transactions”

(e.g., mail-in ballots) by way of executive fiat.

           113.    Benson then again expanded AVR again in September 2020 by sending a mailer to

tens of thousands of Michiganders informing them that they had to act if they wanted to remain

unregistered to vote. A copy of that mailer is included below:




                                [Remainder of Page Intentionally Blank]




23
     Section 168.491a.

                                                    24
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 25 of 38




         114.     Benson even sent this mailer to those who previously had affirmatively declined to

register, effectively conveying that the choice to not vote did not matter.

         115.     In sum, any Michigander who wished to maintain their fundamental right to privacy

and not have their names or personally identifiable information publicly available on statewide

databases, such individuals were now required to affirmatively take the steps to maintain their

privacy interests, without conditions precedent thereto. Perhaps unsurprisingly, Benson has never

proffered any statutory or constitutional authority that authorized her to make this unilateral and

radical change to the rights of Michigan voters.24




24
   Secretary Benson’s expansion of AVR is akin to someone living in a gated community that has a “no solicitation”
sign posted at the entry gate. Despite already advising that solicitation is unwanted, you must get up, answer the door,
and tell the solicitor that solicitation is unwanted. But should you fail to do so, the silence is construed to mean
solicitation is invited, and your prior decision to not register to vote was of no importance.


                                                          25
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 26 of 38




       116.    The graphic below demonstrates the impact on voter registration that occurred just

thirty (30) days after Benson’s quasi-dictatorial policy was instituted:




           iii. ERIC decreases access to voter registration.

       117.    Not only are 501(c)(3) approved organizations like ERIC prohibited from engaging

in this type of extensive lobbying, even if this lobbying were permissible, ERIC is not acting within

the scope of its stated purpose of “increasing access” to voter registration. Indeed, there can be no

“access” to register to vote if those who need such access have already been registered.

       118.    Conveniently, Benson just so happened to have made the second and final AVR

amendment to Michigan’s voting laws only days before she received a grant in the amount of

$12,000,000.00, from ERIC.

       119.    Since its founding in 2016 through September 2020, CEIR had never previously

issued a single grant, yet just two (2) months before the 2020 presidential election, CEIR issued

more than $64,000,000.00 in grants and every penny of which lined the pockets of the top election

officials or partisan political consultants in the election’s most influential swing states.

       120.    ERIC’s own statistics show that it adds about ten times (10x) the number of

voters to voter rolls than the number of ineligible voters it removes, despite the fact that adding

                                                  26
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 27 of 38




voters to voter rolls is not even part of ERIC’s mission or the purpose upon which the IRS granted

ERIC its tax-exempt status. The below graph is a visual as to the disproportionate allocation of

funds, time and energy ERIC spends on adding voters to voter rolls (blue) in comparison to the

removal of ineligible voters (green and orange):




VIII. ERIC Knowingly Discloses Personal Information from Driving Records to CEIR

       121.    To review, fully-aware that ERIC’s partisanship and lobbying activity could cause

it to lose its tax-exempt status, Becker founded a second nonprofit, the CEIR, to bifurcate his

political activities. ERIC receives and collects state resident data, while CEIR receives all non-

member state dues funds. ERIC then transmits the data it receives from the states to CEIR, which,

in turn, creates mailing lists and consolidates the data into a format conducive to outreach efforts

and sends back to ERIC, which, in turn, returns the data to its member states, complete with new

EBU’s and a handful of ineligible voter labels affixed thereto. CEIR then begins contacting the

voters and pushing for them to register as voters, and ERIC appears as though it produced data that

helps its member states identify ineligible voters for removal in addition to providing labels that

identify which voters are EBUs in the state.

                                                27
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 28 of 38




       122.    In the event funding becomes a crucial component, earmarked contributions are

sent to CEIR, who then issues grant money to the member states’ top elections officials where the

quid pro quo is understood that the state will not only comply with all terms of the ERIC member

agreement, but also execute the initiatives and agenda ERIC/CEIR, which, in 2020, were the

inflation of voter roll registrations and legislative amendments that make it easy to add more voters

to county voter rolls.

       123.    On September 4, 2020, just three days after CEIR received $70,000,000.00 from

Zuckerberg, CEIR’s then-former research manager, Jenny Lovell, sent an email to numerous state

officials admitting that ERIC transmits state-controlled data to CEIR.

       124.    The data referenced in her email is not voter data; it is personal information from

driving records obtained from ERIC’s member-states and non-member, the State of Wisconsin’s

DMV. This personal information is what ERIC uses to identify persons ERIC labels as “EBU’s”:




               Email from Jenny Lovell with CEIR’s “@electioninnovation.org” email handle


       125.    Substantively, Lovell’s email makes clear that personal information from driving

records––the EBU data––must be sent to ERIC, not CEIR, in hopes of avoiding production of

such an email in the event CEIR were to face litigation.

                                                  28
          Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 29 of 38




           126.     Due to the scheme to avoid the appearance of engaging in partisan activity and

lobbying, data sent directly to CEIR could be fatal if uncovered.

           127.     Lovell then concludes that ERIC would again serve as the pass-through conduit for

both receiving and returning the data the member-state that the state and CEIR never have any

communication with one another.

           128.     Another document that evinces ERIC’s transmission of DMV data to CEIR is the

“EBU General Timeline” published after CEIR received the $70M in funding from Zuckerberg.




           129.     This timeline is a flagrant violation of well-established federal laws that govern

both the elections process as well as data privacy regulations, as explained in greater detail below.

IX. ERIC Exploits its Tax-Exempt Status

           130.     ERIC exists to obtain DMV data, bloat voter rolls, and facilitate mass voter

registration, yet ERIC’s true purposes were state on its Form 1023 filing that was submitted to

obtain tax-exempt status under Section 501(c)(3) of the Internal Revenue Code (“IRC”).

                i. ERIC operates for non-exempt purposes outside its exempt purpose

           131.     Organizations that operate for substantial non-exempt purposes are not entitled to

tax-exempt status.25



25
     26 CFR § 1.501(c)(3)-1(d)(1)(ii)).

                                                    29
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 30 of 38




        132.    For already-approved tax-exempt organizations, engaging in activities outside the

scope of the organization’s stated exempt purpose is prohibited and gives rise to a basis under

which the IRS can revoke the organizations tax-exempt status. This is one such case.

        133.    ERIC’s exempt purpose is to “assist states in improving the accuracy of America’s

voter rolls and increase access to voter registration for all eligible citizens.” As explained in great

detail, above, ERIC does not improve accuracy of America’s voter rolls, nor does it increase access

to voter registration for eligible citizens.

        134.    ERIC’s member states have statistically less accurate voter rolls than do the states

who do not belong to ERIC (see above). Moreover, ERIC’s own membership agreement

explicitly prohibits its member states from providing it with information concerning

citizenship. It is impossible that ERIC can produce accurate voter rolls when it goes out of its way

to prohibit receiving information about whether a member state resident is an American citizen

and, thus, an eligible voter.

        135.    Indeed, citizenship is a material, outcome-determinative variable and it is

objectively impossible for ERIC to produce accurate voter rolls without knowing whether the

names of persons contained in the data it receives are, or are not, Americans.

        136.    Despite not knowing who is, or who is not, an American citizen, ERIC still requires

its member states to contact every person on the list and, in no event, less than 95% of the names

it provides the states:




                                                  30
          Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 31 of 38




           137.    As discussed above, ERIC obtains and receives information from eligible and

ineligible voters, both of which appear on state voter rolls.

           138.    Illegal aliens appear on voter rolls because of ERIC and the data it provides to the

states.

           139.    The resultant impact of ERIC requiring 95% outreach to a list of names despite not

knowing whether anyone is or is not a citizen is perhaps best highlighted in the testimony offered

by Colorado’s Deputy Secretary of State:

           140.    In July 2024, Deputy Secretary of State Christopher Beall testified under oath that

because of ERIC’s list maintenance practices (or lack thereof), ERIC provided Colorado a list of

50,000 “eligible but unregistered” names for the State to contact and encourage to vote, yet 30,000

of those names were illegal aliens who cannot register or vote lawfully in this country.

           141.    Furthermore, ERIC’s membership agreement does not require member states to

remove ineligible voters. The only situation where an “obligation” to remove ineligible voters

occurs is if a member state independently validates the data it provides to ERIC.

           142.    In other words, ERIC does not mandate that its member states remove ineligible

voters. It only requires removal if the state itself confirms the ineligibility of the voter through its

own verification process.

X. ERIC Knowingly Violates the DPPA and Has Done So for the Last Eight Years

           143.    ERIC has intentionally and knowingly violated the DPPA for over eight (8) years.

           144.    On August 15, 2024, an open records request was submitted to the State of

Wisconsin for “an electronic copy of the membership agreement between the State of Wisconsin

and the Electronic Registration Information Center (ERIC) . . . to understand the terms under which

Wisconsin participates in ERIC.”26


26
     See Exhibit 2, Open Records Request & Response E-Mail Chain dated Aug. 15, 2024.

                                                       31
        Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 32 of 38




        145.     On August 16, 2024, the State of Wisconsin acknowledged receipt of the open

records request and produced one copy of one document that it said governs “the terms under

which Wisconsin participates as a member in ERIC.”27

        146.     The documents shows that on May 17, 2016, the Wisconsin GAB entered into a

contractual agreement with ERIC under the guise that ERIC would help Wisconsin “reduce the

costs and increase the accuracies and efficiencies associated with Wisconsin’s use of voter

registration systems”28 in exchange for a $25,000.00 payment, tens of thousands worth in annual

“membership dues”, and unfettered access to Wisconsin’s DMV database. (“Agreement”).

        147.     GAB and ERIC were the only two parties to the Agreement.

        148.     Wisconsin did not produce an amended agreement, a subsequent agreement, or any

documentation that reveals ERIC gave GAB written consent to assign its rights or interests as

required under the Agreement’s Assignment Clause.

        149.     Therefore, from May 17, 2016 through June 30, 2016, neither Party amended the

Agreement or its terms, nor did GAB transfer any of the rights or interests it had pursuant to the

terms of the Agreement.

        150.     For 44 days, this Agreement remained in place until it was terminated on June 30,

2016, when GAB was eliminated by the 2015 Wisconsin Act 118.29

        151.     The only manner in which the Agreement could have remained in effect beyond

June 30, 2016 was if ERIC provided GAB written consent to assign its rights and interests to

another party or entity.




27
   Id.; see also Exhibit 1.
28
   See Exhibit 1, Original Agreement dated May 17, 2016; see Exhibit 3, Declaration of Eric Scharfenberger.
29
   2015 Wisconsin Act 118 Memo, WISCONSIN LEGISLATIVE COUNCIL (Dec. 22, 2015), available at:
https://docs.legis.wisconsin.gov/2015/related/acts/118.pdf.

                                                        32
          Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 33 of 38




          152.   ERIC never tendered such permission in writing or otherwise and there are no

subsequent agreements between Wisconsin and ERIC.

          153.   Therefore, any contractual relationship between Wisconsin and ERIC ended over

eight (8) years ago on June 30, 2016.

          154.   Despite being fully-aware that Wisconsin’s contract with ERIC ended over 3,000

days ago June 30, 2016, and Wisconsin has never re-joined ERIC since, ERIC has continued to

demand Wisconsin fork out hundreds of thousands of dollars comprised of taxpayer and federal

money for “membership dues.”

          155.   Even worse, ERIC has demanded that Wisconsin provide it with the State’s DMV

data in blatant violation of the DPPA, and ERIC has been successful in obtaining personal

information from driving records.

          156.   ERIC has then itself violated the DPPA not only by receiving the DMV data while

not authorized to be in possession of such information, but by disclosing it without authorization

to its counterpart, the CEIR.

          157.   Boiled down to its essence, Wisconsin has not been an ERIC member-state for

almost a decade, but it continued paying hundreds of thousands of taxpayer dollars for

“membership dues” to ERIC, while providing protected DMV data in violation of the DPPA––and

absent the injunctive relief sought in this action, Wisconsin will continue to do so in violation of

federal law.

                                  FIRST CLAIM FOR RELIEF
                          Violation of the DPPA, 18 U.S.C. § 2721 et seq.
                                     (Against All Defendants)

          158.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.




                                                 33
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 34 of 38




       159.    The Driver’s Privacy Protection Act (“DPPA”), 18 U.S.C. § 2721 et seq., prohibits

any person or entity from knowingly obtaining, disclosing, or using personal information derived

from motor vehicle records for any purpose not explicitly authorized under 18 U.S.C. § 2721(b).

       160.    To establish a violation of the DPPA, Plaintiffs must demonstrate that Defendants

(1) knowingly obtained, disclosed, or used personal information; (2) that was sourced from motor

vehicle records; (3) for a purpose not permitted by the statute. See McDonough v. Anoka Cty., 799

F.3d 931, 945 (8th Cir. 2015).

       161.    Becker, ERIC, and CEIR knowingly obtained and used personal information from

Wisconsin’s DMV database after the termination of the original membership agreement with

Wisconsin on June 30, 2016. At all times relevant, Defendants were aware and otherwise knew

that they lacked any legal authorization to continue accessing this data, yet they knowingly

persisted in obtaining, disclosing, and using personal information from driving records for

unauthorized purposes, including partisan voter outreach. This conduct demonstrates Defendants’

known and intentional disregard for the legal protections provided by the DPPA.

       162.    The DPPA enumerates fourteen (14) permissible uses for personal information

obtained from motor vehicle records, which include government use for safety, theft, and emissions

control, and civil litigation. See 18 U.S.C. § 2721(b). Voter outreach, political targeting, and any

election-related activities are not among these authorized uses.

       163.    Defendants’ use of Wisconsin DMV data for voter registration and outreach

activities is not authorized by any of the permissible uses specified in the statute.

       164.    The DPPA further protects "Highly Restricted Information" (HRI), which includes

names, addresses, social security numbers, driver’s license numbers, phone numbers, photographs,

dates of birth, and vehicle registration information.




                                                 34
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 35 of 38




        165.    Defendants knowingly obtained and disclosed Ms. McKinney’s personal

information or HRI without authorization, in direct violation of 18 U.S.C. § 2721(a) and 18 U.S.C.

§ 2725(4). This unauthorized use of HRI exacerbated the harm to Plaintiffs, increasing the risk of

identity theft, privacy invasion, and unauthorized political targeting.

        166.    David J. Becker knowingly obtained personal information that was sourced from

motor vehicle records.

        167.    Knowing that the personal information was sourced from motor vehicle records,

David J. Becker then used the personal information for one or more purpose(s) not permitted by

the statute, including, without limitation, providing the information to CEIR, targeting citizens

unregistered to vote, targeting non-citizens who are not registered to vote, bloating voter rolls,

adding non-citizens to voter rolls, and soliciting donations.

        168.    The Electronic Registration Information Center knowingly obtained personal

information that was sourced from motor vehicle records.

        169.    Knowing that the personal information was sourced from motor vehicle records,

ERIC then used the personal information for one or more purpose(s) not permitted by the statute,

including, without limitation, providing the information to other Secretaries of States, providing

the personal information to the CEIR targeting citizens unregistered to vote, targeting non-citizens

who are not registered to vote, bloating voter rolls, adding non-citizens to voter rolls, and soliciting

donations.

        170.    The Center for Election Innovation and Research knowingly obtained personal

information that was sourced from motor vehicle records.

        171.    Knowing that the personal information was sourced from motor vehicle records,

the CEIR then used the personal information for one or more purpose(s) not permitted by the

statute, including, without limitation, providing the information to other Secretaries of States,

                                                  35
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 36 of 38




targeting citizens unregistered to vote, targeting non-citizens who are not registered to vote,

bloating voter rolls, adding non-citizens to voter rolls, and soliciting donations.

        172.    The Wisconsin Department of Transportation, by and through its Division of Motor

Vehicles (“DOT”) knowingly disclosed personal information that was sourced from motor vehicle

records to Becker, ERIC, and CEIR and no lawful basis justifying this disclosure exists for doing

so.

        173.    Citizen AG has suffered concrete injuries as a direct result of Defendants’ unlawful

conduct, in that Citizen AG was forced to divert significant resources from its regular

programmatic activities, including election monitoring and compliance initiatives, to investigate

and counteract Defendants’ unauthorized use of DMV data. This diversion of resources has

impaired Citizen AG’s ability to fulfill its mission and has caused financial and operational

burdens.

        174.    Ms. McKinney, a Wisconsin voter, has suffered concrete injuries as a direct result

of Defendants’ unlawful conduct, in that she experienced an invasion of privacy due to the

unauthorized access, use, and disclosure of her DMV data, which was used and continues to be

used to infringe upon and violate her fundamental right to privacy and has undermined her

fundamental right to vote, which is an irreparable harm.

        175.    Defendants’ unauthorized actions in obtaining, disclosing, and using Plaintiffs’

personal information were the direct and proximate cause of Plaintiffs’ injuries. These injuries

were foreseeable consequences of Defendants’ intentional and willful violations of the DPPA. Had

Defendants complied with the DPPA, Plaintiffs would not have suffered the diversion of resources,

loss of privacy, or dilution of voting rights.

        176.    Defendants’ unlawful conduct under the DPPA is not limited to past actions but

continues to the present. Defendants have engaged in, and will continue to engage in the ongoing

                                                 36
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 37 of 38




unauthorized disclosure and use of personal information obtained from driving records, which

were disclosed by WisDOT absent injunctive relief sought herein. Plaintiffs face continued harm

if Defendants are not enjoined from further violating the DPPA.

       177.    Under 18 U.S.C. § 2724(b), Ms. McKinney is entitled to statutory damages of

$2,500 for each violation of the DPPA. Given the scale of the unauthorized access and disclosure,

Ms. McKinney seeks a calculation of damages based on the number of violations occurring since

June 30, 2016, with punitive damages requested to address Defendants’ willful and reckless

disregard for Plaintiffs’ privacy and voting rights.

       178.    Plaintiffs seek injunctive relief prohibiting Defendants from further accessing,

using, or disclosing any personal information derived from WisDOT DMV records. Plaintiffs

further request that Becker, ERIC, and CEIR be ordered to return or destroy all DMV data

unlawfully obtained, in compliance with the DPPA’s requirements.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter judgment in

their favor and further grant:

       (A)     Declaratory relief holding, as a matter of law, that WisDOT has no valid

membership agreement with ERIC and the membership agreement between Wisconsin and ERIC

terminated upon the elimination of the GAB on June 30, 2016;

       (B)     Declaratory relief holding, as a matter of law, that ERIC, the CEIR, Becker, and

WisDOT violated the Driver's Privacy Protection Act by knowingly obtaining, disclosing, and

using personal information from driving records for purposes other than the fourteen (14)

permitted uses expressly provided in the text of the DPPA statute;




                                                 37
       Case: 3:24-cv-00755-wmc Document #: 1 Filed: 10/28/24 Page 38 of 38




       (C)     Temporary and preliminary injunctive relief enjoining WisDOT, ERIC, the CEIR,

and Becker from obtaining, disclosing, and using personal information from driving records for

voting or election-related purposes;

       (D)     Permanent injunctive relief that enjoins WisDOT, ERIC, the CEIR, and Becker

from obtaining, disclosing, and using personal information from driving records stored by the

Wisconsin Department of Transportation’s DMV for any and all voting or election-related

purposes;

       (E)     Award statutory liquidated damages to Ms. McKinney in the amount of $2,500 for

each violation of the DPPA involving Ms. McKinney’s personal information since June 30, 2016;

       (F)     Award punitive damages to address Defendants’ knowing, willful and reckless

disregard for the legal protections under the DPPA and the privacy and voting rights of Wisconsin

residents;

       (G)     Award attorneys’ fees, costs, and expenses pursuant to 18 U.S.C. § 2724; and

       (H)     Award any other relief that this Court deems just and proper.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.

Dated: October 28, 2024.

                                                       Respectfully submitted,

                                                       /s/ Rachel Dreher
                                                       Rachel Dreher
                                                       CITIZEN AG
                                                       111 NE 1st St, 8th Floor
                                                       Miami, FL 33132
                                                       Tel: (202) 595-4504
                                                       rachel@citizenag.org

                                                       Counsel for Plaintiffs




                                                 38
